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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.:_____________________

                                                    x
                                                    : CLASS ACTION
 REGINALD ABAYA, on behalf of himself               :
 and all others similarly situated,                 : JURY TRIAL DEMANDED
                                                    :
                                 Plaintiff,         :
                                                    :
         vs.                                        :
                                                    :
 COLLECTO, INC., a Massachusetts                    :
 Corporation, d/b/a EOS CCA,                        :
                                                    :
                                 Defendant.
                                                    :
                                                    x
               CLASS ACTION COMPLAINT FOR DAMAGES, DECLARATORY
                             AND INJUNCTIVE RELIEF

         Plaintiff Reginald Abaya (“Plaintiff”), by and through the undersigned counsel, files this

 Complaint against Defendant Collecto, Inc., a Massachusetts Corporation, d/b/a EOS CCA

 (“Defendant” or the “Company”). The allegations herein are based upon Plaintiff’s personal

 knowledge and documentary evidence as to his own actions and conduct, and upon information

 and belief as to all other matters set forth herein.

                                    NATURE OF THE ACTION

         1.      This is an action brought pursuant to the Electronic Fund Transfer Act (“EFTA”),

 15 U.S.C. §1693, et seq., and Regulation E, 12 C.F.R. §1005.10(b), promulgated by the Bureau

 of Consumer Financial Protection (“Regulation E”). The EFTA establishes the basic rights,

 liabilities, and responsibilities of consumers who use electronic fund transfer services and of

 financial institutions that offer those services.      The primary objective of the EFTA is the




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 protection of individual consumers engaging in electronic fund transfers. Regulation E is the

 implementing regulation for the EFTA.

         2.      Defendant routinely engages in business practices that violate the EFTA and

 Regulation E. Specifically, in connection with attempts to collect consumer debt, Defendant

 enters into preauthorized electronic fund transfer agreements with consumers that are not

 authorized by a writing signed or similarly authenticated by the consumers, fails to provide

 consumers with ten days written notice of the amount and date of the transfer when a

 preauthorized electronic fund transfer will vary in amount from the preauthorized or prior

 amount, and fails to advise consumers of their right to receive notice of all varying transfers.

         3.      As a result of Defendant’s violations of the EFTA and Regulation E, and pursuant

 to 15 U.S.C. § 1693m, Plaintiff brings this case as a class action seeking damages for himself

 and all others similarly situated.

                                  JURISDICTION AND VENUE

         4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331.

         5.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b)(2), where the

 events giving rise to Plaintiff’s action occurred in this State and this District, where Plaintiff

 resides in this State and this District, and where Defendant transacts substantial business in this

 State and this District.

                                             PARTIES

         6.      Plaintiff is a natural person who at all relevant times resided in Broward County,

 Florida. As a natural person, Plaintiff is a “consumer” as defined by 15 U.S.C. §1693a and 12

 C.F.R. § 1005.2(e).




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        7.      Defendant is a Massachusetts corporation with its principal offices located at 700

 Longwater Drive, Norwell, MA 02061.         It can be served through its registered agent, CT

 Corporation System, 1200 South Pine Island Road, Plantation, FL 33324. Defendant is an

 accounts receivable management company and debt collection agency.

                                  FACTUAL ALLEGATIONS

        8.      At all relevant times, Plaintiff had a checking account with Wells Fargo Bank,

 N.A.

        9.      Plaintiff’s checking account was established primarily for personal, family, or

 household purposes, and thus, is an “account” as defined by 15 U.S.C. §1693a(2).

        10.     In early 2013, Plaintiff received written correspondence from Defendant asserting

 that he owed $9,447.86 to Defendant’s client, “Sallie Mae (Private Credit).”

        11.     In February 2013, in response to that correspondence, Plaintiff contacted

 Defendant concerning the alleged debt. Defendant advised Plaintiff that he had several options

 to pay down the alleged debt, but that the best option was for Plaintiff to provide Defendant with

 his debit card information so that Defendant could debit money from Plaintiff’s bank account on

 a recurring basis.

        12.     Thereafter, Plaintiff and Defendant agreed, orally, that Defendant would debit

 $333.00 monthly for three consecutive months from Plaintiff’s checking account, and thereafter

 would debit $100.00 at the same time each month on a recurring basis until the alleged debt was

 paid in full (the “EFT Agreement”).

        13.     On or about February 28, 2013, March 28, 2013 and April 29, 2013, Defendant

 debited $333.00 from Plaintiff’s checking account. Thereafter, on May 30, 2013, Defendant

 began debiting $100.00 monthly from Plaintiff’s checking account. Defendant subsequently



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 debited another $100.00 from Plaintiff’s checking account on June 28, 2013, and, pursuant to the

 EFT Agreement, Plaintiff’s checking account will be debited $100.00 per month until the alleged

 debt is paid in full.

         14.      Defendant did not obtain from Plaintiff written authorization for the EFT

 Agreement. Plaintiff has not authorized, in writing, any of the preauthorized electronic fund

 transfers from his checking account.

         15.      Defendant did not provide Plaintiff with a copy of any document which Plaintiff

 signed authorizing the EFT Agreement or the preauthorized electronic fund transfers.

         16.      Defendant did not provide Plaintiff with reasonable advance notice of the amount

 to be transferred and the scheduled date of such transfer when Defendant began debiting $100.00

 from his account, as opposed to the $333.00 it was originally debiting.

         17.      Defendant did not advise Plaintiff of his right to receive notice of all varying

 electronic fund transfers.

         18.      Upon information and belief, Defendant has debited the accounts of numerous

 other consumers throughout Florida, on regularly scheduled intervals, without written

 authorization, without providing a copy of such authorization to those consumers and without

 advising those consumers of their right to receive notice of varying transfers, and continues to

 engage in such violative practices.

                                CLASS ACTION ALLEGATIONS

         19.      Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

 Procedure 23(a) and (b) on behalf of himself and a class of similarly situated individuals as

 defined below:

       All persons in the state of Florida who, within one year before the date of this
       complaint, entered into an agreement with Defendant that allowed Defendant to

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       electronically transfer funds from the person’s account on a recurring basis where (1)
       the funds transfers were not authorized by a writing signed or similarly authenticated
       by the person, and/or (2) Defendant did not provide to the person a copy of any
       document which the person signed authorizing the preauthorized electronic fund
       transfers, and/or (3) Defendant did not provide the person with ten days written
       notice of the amount and date of the transfer when a preauthorized electronic fund
       transfer was to vary in amount from the preauthorized or prior amount, and/or (4)
       Defendant did not advise the person of her/his right to receive notice of all varying
       transfers.

 (the “Class”). Excluded from the Class is Defendant, its officers and directors, members of their

 immediate families and their legal representatives, heirs, successors, or assigns, and any entity in

 which Defendant has or had a controlling interest.

        20.     The proposed Class is so numerous that joinder of all members is impracticable.

 The exact number of members of the Class is unknown to Plaintiff at this time and can only be

 ascertained through appropriate discovery. The proposed Class is ascertainable in that the names

 and addresses of all members of the Class can be identified in business records maintained by

 Defendant.

        21.     Plaintiff’s claims are typical of the claims of the members of the Class because

 Plaintiff and all Class members’ claims originate from the same conduct, practice and procedure

 on the part of Defendant and Plaintiff has suffered the same injuries as each member of the class.

 Like all proposed members of the Class, Plaintiff entered into a preauthorized electronic fund

 transfer agreement with Defendant that was not authorized by a writing signed or similarly

 authenticated by Plaintiff, was not provided ten days written notice by Defendant of the amount

 and date of the transfer when a preauthorized electronic fund transfer was to vary in amount from

 the preauthorized or prior amount, and was not advised by Defendant of his right to receive

 notice of all varying transfers.




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           22.      Plaintiff will fairly and adequately protect the interests of the members of the

 Class and has retained counsel experienced and competent in class action litigation.

           23.      A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy, since joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual members of the Class may be relatively small, the expense

 and burden of individual litigation make it impossible for the members of the Class to

 individually redress the wrongs done to them. There will be no difficulty in the management of

 this action as a class action.

           24.      Issues of law and fact common to the members of the Class predominate over any

 questions that may affect only individual members, in that Defendant has acted on grounds

 generally applicable to the Class. Among the issues of law and fact common to the Class are:

                 a. Defendant’s violations of the EFTA and Regulation E, as alleged herein;

                 b. the existence of Defendant’s identical conduct particular to the matters at issue;

                 c. the availability of declaratory relief;

                 d. the availability of statutory penalties; and

                 e. the availability of attorneys’ fees and costs.

           25.      Absent a class action, Defendant’s violations of the law will be allowed to

 proceed without a full, fair, judicially supervised remedy.

                     COUNT I: VIOLATION OF THE EFTA, 15 U.S.C. § 1693e(a)
                         AND REGULATION E, 12 C.F.R. § 1005.10(b)

           26.      Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

 1 – 25.

           27.      12 C.F.R. § 1005.10(b) provides, in pertinent part:




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       Written authorization for preauthorized transfers from consumer’s account.
       Preauthorized electronic fund transfers from a consumer’s account may be
       authorized only by a writing signed or similarly authenticated by the consumer.
       The person that obtains the authorization shall provide a copy to the consumer.

           28.   The Official Staff Interpretations to the EFTA, at12 C.F.R. Pt. 1005.10(b), Supp.

 I, provide, in pertinent part:

       2. Authorization obtained by third party. The account-holding financial institution
       does not violate the regulation when a third-party payee fails to obtain the
       authorization in writing or fails to give a copy to the consumer; rather, it is the third-
       party payee that is in violation of the regulation.

       3. Written authorization for preauthorized transfers. The requirement that
       preauthorized EFTs be authorized by the consumer “only by a writing” cannot be
       met by a payee’s signing a written authorization on the consumer’s behalf with
       only an oral authorization from the consumer.

           29.   The EFT Agreement was not authorized by a writing signed or similarly

 authenticated by Plaintiff. Rather, Defendant purportedly obtained authorization from Plaintiff

 verbally, never obtaining a writing from Plaintiff authorizing the preauthorized electronic fund

 transfers. Further, as there was no signed EFT agreement, Defendant never provided a copy to

 Plaintiff of any written authorization signed by Plaintiff.

           30.   Thus, Defendant violated15 U.S.C. § 1693e and 12 C.F.R. § 205.10(b).

                 COUNT II: VIOLATION OF THE EFTA, 15 U.S.C. § 1693e(b)
                      AND REGULATION E, 12 C.F.R. § 1005.10(d)

           31.   Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

 1 – 25.

           32.   15 U.S.C. § 1693e(b) provides, in pertinent part:

       In the case of preauthorized transfers from a consumer’s account to the same
       person which may vary in amount, the financial institution or designated payee
       shall, prior to each transfer, provide reasonable advance notice to the consumer, in
       accordance with regulations of the Bureau, of the amount to be transferred and
       the scheduled date of the transfer.



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        33.     12 C.F.R. § 1005.10(d) provides, in pertinent part:

       (d) Notice of transfers varying in amount--(1) Notice. When a preauthorized
       electronic fund transfer from the consumer’s accounts will vary in amount from
       the previous transfer under the same authorization or from the preauthorized
       amount, the designated payee or the financial institution shall send the consumer
       written notice of the amount and date of the transfer at least 10 days before the
       scheduled date of transfer.

       (2) Range. The designated payee or the institution shall inform the consumer of the
       right to receive notice of all varying transfers, but may give the consumer the option
       of receiving notice only when a transfer falls outside a specified range of amounts or
       only when a transfer differs from the most recent transfer by more than an agreed-
       upon amount.

        34.     The transfer of $100.00 from Plaintiff’s account on May 30, 2013 varied in

 amount from the previous transfer of $333.00 on April 29, 2013.

        35.     Plaintiff was not provided with ten days advance written notice of the amount and

 date of the May 30, 2013 transfer, which varied in amount from the previous transfer, in

 violation of 15 U.S.C. §1693e(b) and 12 C.F.R. §1005.10(d)(1).

        36.     Further, Defendant never informed Plaintiff of his right to receive notice of all

 varying transfers, in violation of 12 C.F.R. §1005.10(d)(2).

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        a. Adjudging and declaring that Defendant violated 15 U.S.C. §1693e(a), 15 U.S.C.
           §1693e(b), and Regulation E and enjoining Defendant from further violations of 15
           U.S.C. §1693e(a), 15 U.S.C. §1693e(b), and Regulation E;

        b. Awarding Plaintiff actual damages pursuant to 15 U.S.C. §1693m(a)(1);

        c. Awarding Plaintiff statutory damages pursuant to 15 U.S.C. §1693m(a)(2)(A);

        d. Awarding Plaintiff his reasonable costs and attorneys’ fees incurred in this action,
           including expert fees, pursuant to 15 U.S.C. §1693m(a)(3); and

        e. Awarding other and further relief as the Court may deem just and proper.




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                                 JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.


 DATED: July 24, 2013                        Respectfully submitted,


                                             /s/ Michael L. Greenwald

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                                             proposed Class




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